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10                           UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     YONGQI BAI,                              No. 2:23-cv-09474-PA-RAO
13
                Plaintiff,                    ORDER DISMISSING CASE
14
15                     v.
                                              Honorable Percy Anderson
16 ALEJANDRO MAYORKAS                         United States District Judge
   SECRETARY OF HOMELAND
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   SECURITY, ET AL.,
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            Defendants.
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 1         Having read and considered the Joint Stipulation to Dismiss the Case submitted by
 2   the parties, and finding good cause therefor,
 3         IT IS HEREBY ORDERED that:
 4         1.     The instant action shall be dismissed without prejudice;
 5         2.     USCIS shall interview Plaintiff Yungqi Bai on December 16, 2024, at 11:00
 6                a.m., at the Los Angeles Asylum Office in Tustin, California. USCIS
 7                intends to conduct the interview on the date set, however, the parties
 8                understand that due to unexpected staffing limitations or other unforeseen
 9                circumstances that may arise, USCIS reserves its right to cancel and
10                reschedule the interview. Should rescheduling be necessary, the interview
11                will be rescheduled within four (4) weeks of the original interview date,
12                absent unforeseen or exceptional circumstances;
13         3.     If needed by Plaintiff or their dependent(s), Plaintiff shall bring their own
14                interpreter to their asylum interview. See
15                https://www.uscis.gov/newsroom/alerts/affirmative-asylum-applicants-
16                must-provide-interpreters-starting-sept-13. Plaintiff recognizes that failure
17                to bring an interpreter to their interview may result in the interview being
18                rescheduled at no fault of USCIS;
19         4.     Plaintiff agrees to attend the interview on the date listed above, absent
20                unforeseen or exceptional circumstances;
21         5.     If needed, Plaintiff agrees to only make one (1) interview reschedule request
22                and to notify the Los Angeles Asylum Office of the reschedule request, in
23                writing, prior to the scheduled interview date. Plaintiff may email the
24                reschedule request to LosAngelesAsylum@uscis.dhs.gov;
25         6.     If multiple reschedule requests are made by Plaintiff, USCIS may place the
26                asylum application back into the Los Angeles Asylum Office’s general
27                interview               scheduling                 priorities.              See
28                https://www.uscis.gov/humanitarian/refugees-and-
                                                     1
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 1               asylum/asylum/affirmative-asylum-interview-scheduling;
 2         7.    Plaintiff understands that additional interview(s) may be required by USCIS
 3               as part of the asylum interview process and the adjudication of the
 4               application;
 5         8.    USCIS agrees to diligently work towards completing adjudication of the
 6               asylum application within 120 days of completion of Plaintiff’s asylum
 7               interview, absent unforeseen or exceptional circumstances that would
 8               require additional time to complete adjudication;
 9         9.    In the event that USCIS does not complete adjudication of the asylum
10               application within 120 days of the completion of the asylum interview,
11               Plaintiff may refile this action;
12         10.   Plaintiff agrees to submit all supplemental documents and evidence, if any,
13               to USCIS prior to the agreed upon scheduled interview based on the
14               following timelines. Plaintiff may email any supplemental documents to
15               LosAngelesAsylum@uscis.dhs.gov at least seven (7) calendar days before
16               the interview. Alternatively, Plaintiff may mail the supplemental documents
17               to the Los Angeles Asylum Office, P.O. Box 2003, Tustin, CA 92781-2003,
18               postmarked no later than ten (10) calendar days prior to the scheduled
19               asylum interview. Plaintiff recognizes that failure to submit these
20               documents in a timely manner may result in the interview being rescheduled
21               at no fault of USCIS;
22         11.   Each party agrees to bear it’s the party’s own litigation costs, expenses, and
23               attorney fees.
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25   Dated:
         d: _____________
            January 02, 2024
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27
                                               PERCY
                                               PER
                                                 RCY ANDERSON
28                                     UNITED STATES
                                                 TATES DISTRICT JUDGE
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